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                                                        Objection Deadline: February 15, 2024


PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Karen B. Dine, Esq.
Gillian N. Brown, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Tel: 212-561-7700; Fax: 212-561-7777
Email:         jstang@pszjlaw.com.
               kdine@pszjlaw.com
               gbrown@pszjlaw.com
               bmichael@pszjlaw.com

Counsel to the Official Committee of Unsecured Creditors


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                     Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                              Case No. 20-12345 (MG)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.




                   THIRTY-SIXTH MONTHLY FEE STATEMENT
                   OF PACHULSKI STANG ZIEHL & JONES LLP
                 FOR PROFESSIONAL SERVICES RENDERED AND
                DISBURSEMENTS INCURRED AS COUNSEL TO THE
             OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
        THE PERIOD FROM DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023




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    Name of Applicant:                                                 Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services                        Official Committee of Unsecured Creditors
    to:
                                                                       Effective October 16, 2020 pursuant to Order
    Date of Retention:
                                                                       dated November 17, 2020 [Docket No.163]
    Period for which Compensation and
                                                                       December 1, 2023 – December 31, 20231
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                                       $200,423.75 (50% of $400,847.50)
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                                       $11,684.66
    as Actual, Reasonable and Necessary:

This is a:            x Monthly                Interim              Final Application.

                                                   Preliminary Statement

          Pachulski Stang Ziehl & Jones LLP (“PSZJ”), counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre,

New York (the “Debtor”), hereby submits this statement of fees and disbursements (the

“Monthly Statement”) for the period from December 1, 2023 through December 31, 2023 (the

“Compensation Period”) in accordance with the Order Authorizing Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals, dated November 4, 2020

[Docket No. 129] and the Order Regarding Holdback on Professional Fees [Docket No. 2743]

(together the “Amended Interim Compensation Order”). PSZJ requests (a) interim allowance

and payment of compensation in the amount of $200,423.75 (50% of $400,847.50) for fees on

account of reasonable and necessary professional services rendered to the Committee by PSZJ;2

and (b) reimbursement of actual and necessary costs and expenses in the amount of $11,684.66.

PSZJ reserves the right to apply in the future for reimbursement of actual and necessary costs


1
 Pachulski Stang Ziehl & Jones LLP reserves the right to include any time expended in the time period indicated above in future
monthly statements and/or fee application(s) if it is not included in this Monthly Statement.
2
 PSZJ will hold ten percent of all fees received in this case in a trust account to benefit this case’s abuse claimants. The funds
will be held until a trust is established through a plan of reorganization. If no such trust is created, the funds will be donated to a
child advocacy organization to be selected by the Committee at the conclusion of the case.


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and expenses, if any, incurred by members of the Committee in connection with their service as

members of the Committee during the Compensation Period.

                             Services Rendered During the Compensation Period

                    Exhibit A sets forth a timekeeper summary that includes the respective names,

positions, department, bar admissions, hourly billing rates and aggregate hours spent by each

professional and paraprofessional that provided services to the Committee during the

Compensation Period. The rates charged by PSZJ for services rendered to the Committee are the

same rates that PSZJ charges generally for professional services rendered to its non-bankruptcy

clients.

                    Exhibit B sets forth a task code summary that includes the aggregate hours per

task code spent by PSZJ professionals and paraprofessionals in rendering services to the

Committee during the Compensation Period.

                    Exhibit C sets forth a disbursement summary that includes the aggregate

expenses, organized by general disbursement categories, incurred by PSZJ in connection with

services rendered to the Committee during the Compensation Period.

                    Exhibit D sets forth a complete itemization of all time records for PSZJ

professionals and paraprofessionals for the Compensation Period.

                                         Notice and Objection Procedures

                    No trustee or examiner has been appointed in this chapter 11 case. Notice of the

Monthly Statement will be served by electronic mail and/or U.S. First Class Mail upon the

following: (a) the Debtor c/o The Roman Catholic Diocese of Rockville Centre, 50 N Park Ave

P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn: Thomas Renker, Esq.); (b) the

attorneys for the Debtor at Jones Day, 250 Vesey Street, New York, NY 10281 (Attn: Corinne



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Ball, Esq., Benjamin Rosenblum, Esq., and Andrew M. Butler, Esq.); and (c) the Office of the

United States Trustee Region 2, 201 Varick Street, Suite 1006, New York, NY 10014 (Attn:

Greg Zipes, Esq. and Shara Cornell, Esq.). PSZJ submits that no other or further notice need be

provided.

                    Pursuant to the Amended Interim Compensation Order, objections to this Monthly

Statement, if any, must be served upon the undersigned counsel for the Committee and all

persons identified at paragraph 5, above, by February 15, 2024 (the “Objection Deadline”),

setting forth the nature of the objection and the amount of fees or expenses at issue.

                    If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay PSZJ 50% of the fees and 100% of the expenses set forth above.

                    To the extent an objection to this Monthly Statement is timely made, the Debtor

shall withhold payment of that portion of the Monthly Statement to which the objection is

directed and promptly pay the remainder of the fees and disbursements in the percentages set

forth above.




                               [remainder of page left intentionally blank]




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To the extent such objection is not resolved, it shall be preserved and presented to the Court at

the next interim or final fee application hearing.


                                               PACHULSKI STANG ZIEHL & JONES LLP
 Dated: January 31, 2024
                                                /s/ Gillian N. Brown
                                               James I. Stang, Esq. (admitted pro hac vice)
                                               Karen B. Dine, Esq.
                                               Gillian N. Brown, Esq.
                                               Brittany M. Michael, Esq.
                                               780 Third Avenue, 36th Floor
                                               New York, NY10017
                                               Tel: (212) 561-7700; Fax: (212) 561-7777
                                               Email:
                                               jstang@pszjlaw.com
                                               kdine@pszjlaw.com
                                               gbrown@pszjlaw.com
                                               bmichael@pszjlaw.com

                                                Counsel to the Official Committee of Unsecured
                                                Creditors




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                                             EXHIBIT A

                                         Timekeeper Summary

NAME OF PROFESSIONAL             TITLE     YEAR OF      YEAR OF     HOURLY      TOTAL        TOTAL
                                          ADMISSION   PARTNERSHIP    RATE       HOURS     COMPENSATION
                                                                                BILLED




James I. Stang               Partner        1980         1983       $1,695.00    38.40      $65,088.00
James I. Stang               Partner        1980         1983         847.50     17.20      $14,577.00
Iain A.W. Nasatir            Partner        1983         1998       $1,395.00    22.30      $31,108.50
John W. Lucas                Partner        2010         2014       $1,150.00      1.50      $1,725.00
Karen B. Dine                Counsel        1994         N/A        $1,395.00    73.00     $101,835.00
Jeffrey M. Dine              Counsel        1996         N/A        $1,395.00      3.20      $4,464.00
Gail S. Greenwood            Counsel        1994         N/A        $1,095.00    54.60      $59,787.00
William L. Ramseyer          Counsel        1980         N/A         $975.00       0.40        $390.00
Gillian N. Brown             Counsel        1999         N/A         $975.00       5.40      $5,265.00
Brittany M. Michael          Counsel        2015         N/A         $875.00     44.90      $39,287.50
Hayley R. Winograd           Associate      2018         N/A         $825.00     72.80      $60,060.00
Leslie A. Forrester          Librarian      N/A          N/A         $595.00       5.10      $3,034.50
Yves P. Derac                Paralegal      N/A          N/A         $545.00     15.70       $8,556.50
Kerri L. LaBrada             Paralegal      N/A          N/A         $545.00       5.40      $2,943.00
Cheryl A. Knotts             Paralegal      N/A          N/A         $495.00       0.80        $396.00
                             Legal
Virginia L. Downing                         N/A          N/A         $395.00       5.90      $2,330.50
                             Assistant
Totals                                                                          366.60     $400,847.50




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                                             EXHIBIT B

                                        Task Code Summary

        Code                            Description               Hours       Amount
          CA         Case Administration                            2.00       $1,090.00
         CPO         Other Professional Compensation                0.20         $195.00
         IAC         IAC/Affiliate Transactions                     3.40       $2,808.00
         IFA         Interim Fee Applications                      16.10      $12,361.50
          IL         Insurance Litigation                           4.10       $6,019.50
        MCC          Mtgs/Conf w/Client                            23.10      $28,044.50
         MD          Motion to Dismiss                             66.80      $89,712.00
         ME          Mediation                                      0.40         $678.00
        MFA          Monthly Fee Statements                         2.60       $2,277.00
         OPH         Open Court Hearing                            10.50      $13,592.50
          PD         Plan & Disclosure Stmt.                      179.80     $193,379.50
         PINJ        Preliminary Injunction                         9.70      $11,063.50
        PNTC         Public Notice                                 10.00       $9,708.00
         SCL         State Court Litigation                        20.70      $15,341.50
          TR         Travel                                        17.20      $14,577.00
                     TOTAL                                        366.60     $400,847.50




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                                             EXHIBIT C
                                        Disbursement Summary


                             Expenses (by Category)                  Amounts
              Air Fare                                                  $2,650.00
              Auto Travel Expense                                         $354.06
              Bloomberg                                                   $114.20
              Working Meals                                                $78.12
              Hotel Expense                                               $586.19
              Lexis/Nexis – Legal Research                              $1,058.69
              Litigation Support Vendors                                $6,336.00
              Pacer – Court Research                                       $41.00
              Reproduction Expense                                        $162.90
              Travel Expense                                               $50.00
              Transcript                                                  $253.50
              TOTAL                                                    $11,684.66




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                                           EXHIBIT D




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                                                                   10100 Santa Monica Blvd.
                                                                   13th Floor
                                                                   Los Angeles, CA 90067




Diocese of Rockville Ctr. OCC                                      December 31, 2023
                                                                   Invoice 136656
                                                                   Client 18491.00002




RE: Committee Representation



            STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2023

               FEES                                                $400,847.50
               EXPENSES                                             $11,684.66
               TOTAL CURRENT CHARGES                               $412,532.16

               BALANCE FORWARD                                    $4,107,926.56
               LAST PAYMENT                                        -$529,695.90
               TOTAL BALANCE DUE                                  $3,990,762.84
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Summary of Services by Professional
ID       Name                                Title                     Rate      Hours          Amount
IAWN     Nasatir, Iain A.W.                  Partner               1,395.00      22.30       $31,108.50
JIS      Stang, James I.                     Partner               1,695.00      38.40       $65,088.00
JIS      Stang, James I.                     Partner                 847.50      17.20       $14,577.00
JWL      Lucas, John W.                      Partner               1,150.00       1.50         $1,725.00
BMM      Michael, Brittany Mitchell          Counsel                 875.00      44.90       $39,287.50
GNB      Brown, Gillian N.                   Counsel                 975.00       5.40         $5,265.00
GSG      Greenwood, Gail S.                  Counsel               1,095.00      54.60       $59,787.00
JMD      Dine, Jeffrey M.                    Counsel               1,395.00       3.20         $4,464.00
KBD      Dine, Karen B.                      Counsel               1,395.00      73.00      $101,835.00
WLR      Ramseyer, William L.                Counsel                 975.00       0.40          $390.00
HRW      Winograd, Hayley R.                 Associate               825.00      72.80       $60,060.00
CAK      Knotts, Cheryl A.                   Paralegal               495.00       0.80          $396.00
KLL      LaBrada, Kerri L.                   Paralegal               545.00       5.40         $2,943.00
VLD      Downing, Virginia L.                Paralegal               395.00       5.90         $2,330.50
YPD      Derac, Yves P.                      Paralegal               545.00      15.70         $8,556.50
LAF      Forrester, Leslie A.                Library                 595.00       5.10         $3,034.50
                                                                     366.60                 $400,847.50
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Summary of Services by Task Code
Task Code       Description                                                Hours                 Amount
CA              Case Administration                                         2.00               $1,090.00
CPO             Other Professional Compensation                             0.20                 $195.00
IAC             IAC/Affiliate Transactions                                  3.40               $2,808.00
IFA             Interim Fee Applications                                   16.10              $12,361.50
IL              Insurance Litigation                                        4.10               $6,019.50
MCC             Mtgs/Conf w/Client                                         23.10              $28,044.50
MD              Motion to Dismiss                                          66.80              $89,712.00
ME              Mediation                                                   0.40                 $678.00
MFA             Monthly Fee Statements                                      2.60               $2,277.00
OPH             Open Court Hearing                                         10.50              $13,592.50
PD              Plan and Disclosure Statement                             179.80             $193,379.50
PINJ            Preliminary Injunction                                      9.70              $11,063.50
PNTC            Public Notice                                              10.00               $9,708.00
SCL             State Court Litigation                                     20.70              $15,341.50
TR              Travel                                                     17.20              $14,577.00
                                                                          366.60             $400,847.50
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Summary of Expenses
Description                                                                                  Amount
Air Fare                                                                                    $2,650.00
Auto Travel Expense                                                                          $354.06
Bloomberg                                                                                    $114.20
Working Meals                                                                                  $78.12
Hotel Expense                                                                                $586.19
Lexis/Nexis- Legal Research                                                                 $1,058.69
Litigation Support Vendors                                                                  $6,336.00
Pacer - Court Research                                                                         $41.00
Reproduction Expense                                                                         $162.90
Travel Expense                                                                                 $50.00
Transcript                                                                                   $253.50
                                                                                          $11,684.66
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                                                                            Hours      Rate       Amount

Case Administration
12/01/2023 KLL       CA      Review docket and update critical dates         0.40    545.00       $218.00
                             memo.

12/04/2023 KLL       CA      Update critical dates memo.                     0.30    545.00       $163.50
12/08/2023 KLL       CA      Review docket and update critical dates         0.40    545.00       $218.00
                             memo.

12/11/2023 KLL       CA      Update critical dates memo.                     0.10    545.00        $54.50
12/13/2023 KLL       CA      Update critical dates memo.                     0.40    545.00       $218.00
12/28/2023 KLL       CA      Update critical dates memo.                     0.40    545.00       $218.00
                                                                             2.00                $1,090.00

Other Professional Compensation
12/13/2023 GNB       CPO     Email with BRG regarding November               0.10    975.00         $97.50
                             monthly fee statements.

12/17/2023 GNB       CPO     Email BRG and BB regarding October              0.10    975.00         $97.50
                             monthly fee statements.

                                                                             0.20                 $195.00

IAC/Affiliate Transactions
12/03/2023 GSG       IAC     Emails to/from K. Dine and K. Brown re          0.10   1,095.00      $109.50
                             tolling of IAC transfer actions.
12/04/2023 GSG       IAC     Review Seminary settlement approval order       0.30   1,095.00      $328.50
                             (.2); and email K. Dine and J. Stang re same
                             (.1).
12/06/2023 KBD       IAC     Telephone call with M. Bunin regarding          0.20   1,395.00      $279.00
                             tolling agreement.
12/11/2023 KBD       IAC     Draft amended tolling stipulation and           0.30   1,395.00      $418.50
                             presentment notice.

12/11/2023 KBD       IAC     Correspondence with M. Bunin (Farrel Fritz)     0.10   1,395.00      $139.50
                             regarding tolling.

12/11/2023 KLL       IAC     Review and finalize for filing Notice of        0.40    545.00       $218.00
                             Presentment re DOE tolling agreement
                             extension.
12/13/2023 KBD       IAC     Telephone call with M. Bunin regarding          0.10   1,395.00      $139.50
                             matter relating to DOE.
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                                                                               Hours      Rate       Amount
12/13/2023 KBD       IAC     Telephone call with J. Stang regarding DOE.        0.10   1,395.00      $139.50
12/18/2023 KLL       IAC     Prepare notice of status conference for filing.    1.30    545.00       $708.50
12/19/2023 KLL       IAC     Correspond with Court on notice of                 0.40    545.00       $218.00
                             presentment re DOE tolling agreement.

12/26/2023 GSG       IAC     Email to/from B. Anavim re DOE calendaring.        0.10   1,095.00      $109.50
                                                                                3.40                $2,808.00

Interim Fee Applications
12/05/2023 BMM       IFA     Review Jones Day interim fee application for       1.40    875.00      $1,225.00
                             time spent on state court actions.

12/06/2023 BMM       IFA     Review Jones Day interim fee application for       0.90    875.00       $787.50
                             time spent on state court actions.

12/06/2023 BMM       IFA     Research regarding fee objection.                  0.70    875.00       $612.50
12/06/2023 GNB       IFA     Call with B. Michael regarding Jones Day           0.10    975.00         $97.50
                             interim fee application.

12/06/2023 VLD       IFA     Prepare chart of Jones Day fees for B.             5.90    395.00      $2,330.50
                             Michael.
12/11/2023 GNB       IFA     Revise Lerman Senter amended third interim         0.30    975.00       $292.50
                             fee application (.2); email with K. Dine
                             regarding same and email Jones Day regarding
                             same (.1).

12/11/2023 GNB       IFA     Draft cover letter to Court to accompany           0.20    975.00       $195.00
                             expert invoices (.1); review PSZJ pending
                             interim fee application regarding same (.1).
12/12/2023 GNB       IFA     Email with C. Knotts regarding A. Butler           0.10    975.00         $97.50
                             email concerning PSZJ's ninth interim fee
                             application.
12/12/2023 KBD       IFA     Correspondence with UST regarding PSZJ             0.10   1,395.00      $139.50
                             interim fee application.
12/12/2023 KBD       IFA     Correspondence with Jones Day regarding            0.10   1,395.00      $139.50
                             PSZJ interim fee application.
12/12/2023 WLR       IFA     Review correspondence from G. Brown                0.20    975.00       $195.00
                             regarding ninth interim fee application.
12/13/2023 CAK       IFA     Emails regarding amounts paid to PSZJ (.1);        0.40    495.00       $198.00
                             research same (.3).
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                                                                              Hours      Rate       Amount
12/13/2023 GNB       IFA     Analyze emails from C. Knotts regarding           0.30    975.00       $292.50
                             response to A. Butler inquiry regarding PSZJ
                             ninth interim fee application (.1); email V.
                             Arias and C. Knotts regarding same (.2).
12/13/2023 GNB       IFA     Finalize package to Court and U.S. Trustee        0.10    975.00         $97.50
                             regarding expert invoices.
12/13/2023 KBD       IFA     Analyze issues relating to pSZJ interim fee       0.40   1,395.00      $558.00
                             application.

12/13/2023 KBD       IFA     Telephone call with A. Butler and A. Ciriello     0.10   1,395.00      $139.50
                             regarding PSZJ interim fee application.

12/13/2023 WLR       IFA     Review correspondence from V. Arias and G.        0.20    975.00       $195.00
                             Brown re PSZJ interim fee application.

12/14/2023 CAK       IFA     Edit PSZJ amended interim fee application         0.20    495.00         $99.00
                             Summary.

12/14/2023 GNB       IFA     Communications with PSZJ team regarding           0.20    975.00       $195.00
                             amended ninth interim fee application
                             summary.
12/14/2023 JIS       IFA     Review of amended fee schedule for interim        0.10   1,695.00      $169.50
                             fee application.
12/15/2023 CAK       IFA     Emails with PSZJ (.1); and research regarding     0.20    495.00         $99.00
                             payments received (.1).

12/17/2023 GNB       IFA     Review and finalize second amended cover          0.10    975.00         $97.50
                             sheet to PSZJ's ninth interim fee application.

12/18/2023 GNB       IFA     Email Commitee professionals regarding            0.10    975.00         $97.50
                             tomorrow's interim fee application hearing.

12/18/2023 GNB       IFA     Email with K. Dine and B. Michael regarding       0.10    975.00         $97.50
                             forwarded Jones Day proposed order on
                             interim fee applications set for hearing
                             tomorrow; email other Committee
                             professionals regarding same.
12/18/2023 KBD       IFA     Telephone call with G. Brown regarding PSZJ       0.40   1,395.00      $558.00
                             fee issues and other matters for hearing.
12/19/2023 GNB       IFA     Call with J. Stang regarding today's interim      0.10    975.00         $97.50
                             fee application hearing; review email from
                             BRG regarding proposed order on pending
                             interim fee applications.
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                                                                               Hours      Rate       Amount
12/19/2023 GNB       IFA     Email with P. Shields regarding today's            0.30    975.00       $292.50
                             hearing on interim fee applications (.1); email
                             with K. Dine regarding same (.2).
12/19/2023 GNB       IFA     Review orders regarding today's interim fee        0.20    975.00       $195.00
                             application hearing (.1); email Committee
                             professionals regarding 50% holdback (.1).
12/20/2023 GNB       IFA     Email with K. Dine and J. Bair regarding           0.30    975.00       $292.50
                             order on fee holdback (.2); email with S.
                             Coran regarding same (.1).
12/23/2023 GNB       IFA     Begin review of attachment to G. Zipes' email      0.20    975.00       $195.00
                             regarding U.S. Trustee comments to PSZJ
                             ninth interim fee application.

12/25/2023 GNB       IFA     Review PSZJ bills in connection with G.            0.20    975.00       $195.00
                             Zipes' comments on PSZJ ninth interim fee
                             application.
12/26/2023 BMM       IFA     Review UST objections to PSZJ invoice.             0.50    875.00       $437.50
12/26/2023 BMM       IFA     Meeting with UST and K. Dine regarding             0.50    875.00       $437.50
                             objection to PSZJ interim fee application (.4);
                             prepare for call (.1).

12/26/2023 KBD       IFA     Telephone call with J. Stang regarding fee         0.10   1,395.00      $139.50
                             matters.

12/27/2023 GNB       IFA     Email with K. Dine regarding resolution of         0.10    975.00         $97.50
                             U.S. Trustee comments on PSZJ's ninth
                             interim fee application.
12/27/2023 KBD       IFA     Prepare for call with UST regarding PSZJ fee       0.30   1,395.00      $418.50
                             application.
12/27/2023 KBD       IFA     Telephone call with G. Zipes and B. Michael        0.40   1,395.00      $558.00
                             regarding PSZJ fee application.
                                                                               16.10              $12,361.50

Insurance Litigation
12/05/2023 IAWN IL           Review recent CVA ruling in New York.              0.30   1,395.00      $418.50
12/06/2023 IAWN IL           Review digest re CVA notice case under New         0.20   1,395.00      $279.00
                             York law.
12/11/2023 IAWN IL           Exchange emails with A. Doumanian re               0.10   1,395.00      $139.50
                             Arrowood.
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                                                                            Hours      Rate       Amount
12/11/2023 IAWN IL           Review Arrowood and NYLB websites re new        0.20   1,395.00      $279.00
                             information.

12/13/2023 IAWN IL           Review Reed Smith article re Arrowood.          0.10   1,395.00      $139.50
12/13/2023 IAWN IL           Exchange emails with Burns Bair LLP re Reed     0.10   1,395.00      $139.50
                             Smith Arrowood article.

12/15/2023 IAWN IL           Review Arrowood status in New York and          0.30   1,395.00      $418.50
                             Delaware.

12/15/2023 IAWN IL           Review Arrowood summary email to update.        0.50   1,395.00      $697.50
12/15/2023 IAWN IL           Update Arrowood email.                          0.20   1,395.00      $279.00
12/15/2023 JIS       IL      Review and revise memo regarding Arrowood       1.00   1,695.00     $1,695.00
                             issues.

12/18/2023 IAWN IL           Review Albany Diocese decision re duty to       0.20   1,395.00      $279.00
                             defend against Chubb.
12/19/2023 IAWN IL           Review Diocese of Camden plan article.          0.10   1,395.00      $139.50
12/19/2023 IAWN IL           Review insurers objection in Diocese of         0.80   1,395.00     $1,116.00
                             Camden.
                                                                             4.10                $6,019.50

Mtgs/Conf w/Client
12/01/2023 KBD       MCC     Telephone call with SCC and professionals       1.10   1,395.00     $1,534.50
                             regarding ongoing matters.
12/06/2023 BMM       MCC     Call with P. Stoneking and K. Dine regarding    0.80    875.00       $700.00
                             ongoing case issues.
12/06/2023 KBD       MCC     Telephone call with P. Stoneking and B.         0.70   1,395.00      $976.50
                             Michael regarding ongoing case issues.
12/07/2023 BMM       MCC     Communications with SCC regarding ongoing       0.60    875.00       $525.00
                             case issues.
12/08/2023 BMM       MCC     Participate in meeting with SCC regarding       1.30    875.00      $1,137.50
                             ongoing case issues.
12/08/2023 KBD       MCC     Telephone call with PSZJ, Burns Bair LLP and    1.30   1,395.00     $1,813.50
                             SCC regarding ongoing case issues.
12/12/2023 BMM       MCC     Participate in Committee meeting regarding      1.50    875.00      $1,312.50
                             ongoing case issues.

12/12/2023 IAWN MCC          Telephone call with SCC re dismissal            1.30   1,395.00     $1,813.50
                             alternatives.
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                                                                               Hours      Rate       Amount
12/12/2023 KBD       MCC     Telephone call with Committee and its              1.40   1,395.00     $1,953.00
                             professionals regarding ongoing case issues.

12/12/2023 YPD       MCC     Attend standing Committee meeting re               1.20    545.00       $654.00
                             disclosure statement and open issues (partial).

12/14/2023 KBD       MCC     Correspondence among PSZJ and SCC                  0.40   1,395.00      $558.00
                             regarding ongoing case issues.

12/15/2023 BMM       MCC     Emails with creditors and creditors' counsel       0.30    875.00       $262.50
                             regarding case inquiries.

12/15/2023 BMM       MCC     Return creditor calls regarding case inquires.     0.50    875.00       $437.50
12/15/2023 BMM       MCC     Participate in meeting with SCC regarding          1.00    875.00       $875.00
                             ongoing case issues (.9); prepare for meeting
                             (.1).
12/15/2023 IAWN MCC          Telephone call with SCC re test case motion.       0.90   1,395.00    $1,255.50
12/15/2023 KBD       MCC     Telephone call with SCC and Committee              0.90   1,395.00     $1,255.50
                             professionals regarding ongoing case issues.
12/15/2023 KBD       MCC     Analyze correspondence among professionals,        0.10   1,395.00      $139.50
                             Committee and SCC on ongoing case issues.
12/19/2023 JIS       MCC     Call Committee re hearing outcome.                 1.10   1,695.00    $1,864.50
12/19/2023 KBD       MCC     Telephone call with P. Stoneking regarding         0.20   1,395.00      $279.00
                             ongoing case issues.

12/21/2023 IAWN MCC          Telephone call with SCC re DVRC plan.              1.20   1,395.00    $1,674.00
12/21/2023 JIS       MCC     Call with survivor re case status.                 1.60   1,695.00    $2,712.00
12/21/2023 KBD       MCC     Telephone call with Committee, SCC and             1.20   1,395.00     $1,674.00
                             professionals regarding ongoing case issues.

12/21/2023 YPD       MCC     Attend Committee meeting (partial).                1.00    545.00       $545.00
12/29/2023 IAWN MCC          Telephone call with SCC re stay.                   1.00   1,395.00    $1,395.00
12/29/2023 IAWN MCC          Follow-up call with J. Stang, K. Dine and T.       0.50   1,395.00      $697.50
                             Burns re with SCC concerning stay.

                                                                               23.10              $28,044.50

Motion to Dismiss
12/08/2023 IAWN MD           Telephone call with team re tasks on test case     0.10   1,395.00      $139.50
                             motion.

12/08/2023 IAWN MD           Review opposition to test case motion.             0.70   1,395.00      $976.50
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                                                                              Hours      Rate       Amount
12/08/2023 KBD       MD      Analyze Debtor response to test case motion.      0.40   1,395.00      $558.00
12/11/2023 BMM       MD      Call with K. Dine regarding response to test      0.40    875.00       $350.00
                             case motion.

12/11/2023 GSG       MD      Review Diocese opposition to test case            0.70   1,095.00      $766.50
                             motion.

12/11/2023 GSG       MD      Review Committee test case motion.                0.50   1,095.00      $547.50
12/11/2023 IAWN MD           Review LMI limited objection to test case         0.20   1,395.00      $279.00
                             motion.

12/11/2023 IAWN MD           Review J. Bair email with insert responding to    0.10   1,395.00      $139.50
                             LMI.

12/11/2023 IAWN MD           Draft additional comment for J. Bair re test      0.10   1,395.00      $139.50
                             cases.
12/11/2023 JIS       MD      Call K. Dine regarding reply to opposition to     0.40   1,695.00      $678.00
                             Committee motion for test cases and
                             suspension.
12/11/2023 KBD       MD      Analyze Debtor and LMI objections to test         0.60   1,395.00      $837.00
                             case motion.
12/11/2023 KBD       MD      Outline response to debtor objection to test      0.80   1,395.00     $1,116.00
                             case motion.

12/11/2023 KBD       MD      Correspondence among PSZJ and Burns Bair          0.10   1,395.00      $139.50
                             LLP regarding objections to test case motion.

12/11/2023 KBD       MD      Telephone call with B. Michael regarding          0.40   1,395.00      $558.00
                             Debtor objection to test case motion.

12/11/2023 KBD       MD      Telephone call with J. Stang regarding            0.40   1,395.00      $558.00
                             Debtor's Objection to the test case motion.

12/12/2023 BMM       MD      Review objections to test case motion.            0.70    875.00       $612.50
12/12/2023 IAWN MD           Exchange emails with J. Bair re defense costs.    0.10   1,395.00      $139.50
12/12/2023 KBD       MD      Draft reply in support of test cases.             4.60   1,395.00    $6,417.00
12/12/2023 KBD       MD      Telephone calls with B. Michael regarding test    0.50   1,395.00      $697.50
                             cases.
12/13/2023 BMM       MD      Revise reply in support of test case motion.      2.10    875.00     $1,837.50
12/13/2023 JIS       MD      Review and revise draft of reply to test case     1.20   1,695.00     $2,034.00
                             oppositions.
12/13/2023 JMD       MD      Meet with K. Dine re reply on test case motion    1.00   1,395.00     $1,395.00
                             (0.2); revise reply brief (0.8).
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                                                                               Hours      Rate       Amount
12/13/2023 KBD       MD      Draft reply in support of test case motion.        3.40   1,395.00    $4,743.00
12/13/2023 KBD       MD      Confer with J. Dine regarding reply in support     0.20   1,395.00      $279.00
                             of test cases.

12/14/2023 BMM       MD      Call with K. Dine regarding upcoming               0.40    875.00       $350.00
                             litigation strategy on test cases motion.

12/14/2023 GSG       MD      Review test case motion reply and comments         1.80   1,095.00     $1,971.00
                             and provide additional comments.

12/14/2023 IAWN MD           Review reply and Burns Bair LLP comment to         0.60   1,395.00      $837.00
                             reply re test case motion.

12/14/2023 JIS       MD      Review and revise reply to test case               1.10   1,695.00     $1,864.50
                             opposition.
12/14/2023 JIS       MD      Call with state court counsel regarding hearing    0.60   1,695.00     $1,017.00
                             on test case motion.
12/14/2023 JIS       MD      Call with K. Dine regarding test case motion       0.20   1,695.00      $339.00
                             reply.
12/14/2023 JIS       MD      Draft email to state court counsel regarding       0.50   1,695.00      $847.50
                             upcoming issues for the test case hearing.
12/14/2023 JIS       MD      Continued review of exhibits to reply to           1.00   1,695.00     $1,695.00
                             opposition to motion for test cases.
12/14/2023 KBD       MD      Revisions to reply in support of test case         2.30   1,395.00     $3,208.50
                             motions.
12/14/2023 KBD       MD      Prepare K. Dine Declaration in connection          3.70   1,395.00     $5,161.50
                             with Reply in support of test cases motion.
12/14/2023 KBD       MD      Prepare for hearing on test case motion with J.    0.50   1,395.00      $697.50
                             Stang (partial).
12/15/2023 GSG       MD      Review final reply re test cases.                  0.20   1,095.00      $219.00
12/15/2023 JIS       MD      Call with K. Dine regarding issues to be raised    0.10   1,695.00      $169.50
                             at upcoming hearing on test case motion.

12/15/2023 JIS       MD      Call with state court counsel regarding test       0.90   1,695.00     $1,525.50
                             case/suspension motion.

12/15/2023 JIS       MD      Call with J. Amala and B. Michael (partial)        0.50   1,695.00      $847.50
                             regarding test case/suspension motion and
                             Debtor's letter regarding informal status
                             conference.

12/15/2023 KBD       MD      Finalize reply brief on test case motion and       1.70   1,395.00     $2,371.50
                             declaration for filing.
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                                                                                Hours      Rate       Amount
12/15/2023 KBD       MD      Analyze request for status conference.              0.30   1,395.00      $418.50
12/18/2023 JIS       MD      Review all pleadings for 12/19 hearing on           2.80   1,695.00     $4,746.00
                             interim fee application and test case motion.

12/18/2023 KBD       MD      Prepare and review correspondence among             0.50   1,395.00      $697.50
                             Chambers and Jones Day regarding status
                             conference.
12/18/2023 KBD       MD      Prepare for hearing on test cases and other         2.80   1,395.00     $3,906.00
                             matters with J. Stang (partial).
12/18/2023 KBD       MD      Telephone calls with J. Stang regarding             0.40   1,395.00      $558.00
                             matters relating to tomorrow's hearing on test
                             cases.

12/19/2023 BMM       MD      Call with K. Dine and J. Stang regarding            0.30    875.00       $262.50
                             today's hearing and case next steps.

12/19/2023 HRW       MD      Review motion to proceed with test cases and        0.80    825.00       $660.00
                             related filings.

12/19/2023 JIS       MD      Prepare oral argument for 12/19 hearing on          4.50   1,695.00     $7,627.50
                             test case motion.
12/19/2023 JIS       MD      Telephone conference with J. Amala re               0.30   1,695.00      $508.50
                             hearing outcome on test case motion.
12/19/2023 KBD       MD      Prepare for hearing on scheduled matters with       2.30   1,395.00     $3,208.50
                             J. Stang (partial).
12/20/2023 JIS       MD      Telephone conference with J. Anderson re            0.20   1,695.00      $339.00
                             12/19 hearing on test case motion.
12/20/2023 JIS       MD      Call T. Burns re 12/19 hearing on test case         0.70   1,695.00     $1,186.50
                             motion.
12/28/2023 GSG       MD      Review order and case management statement          0.40   1,095.00      $438.00
                             re test cases.
12/28/2023 GSG       MD      Telephone call and email K. Dine re test case       0.10   1,095.00      $109.50
                             protocol.
12/28/2023 GSG       MD      Brief research re selection of bellwether cases.    0.70   1,095.00      $766.50
12/28/2023 GSG       MD      Call with K. Dine and J. Stang (partial) re test    1.00   1,095.00     $1,095.00
                             case motion and proposed protocol.

12/28/2023 GSG       MD      Review and annotate 12/19 transcript re test        1.40   1,095.00     $1,533.00
                             case issues.

12/28/2023 GSG       MD      Emails to K. Dine and J. Stang re 12/19             0.20   1,095.00      $219.00
                             hearing transcript on test cases.
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                                                                                Hours      Rate       Amount
12/28/2023 GSG       MD      Draft motion re test case protocol and relief       7.80   1,095.00     $8,541.00
                             from stay.

12/29/2023 GSG       MD      Draft test case motion.                             1.50   1,095.00    $1,642.50
12/29/2023 GSG       MD      Draft order re test case protocol.                  0.80   1,095.00      $876.00
12/29/2023 GSG       MD      Attend meeting (partial) with J. Stang, K.          0.40   1,095.00      $438.00
                             Dine, I. Nasatir, and T. Burns re test cases in
                             state court.
12/29/2023 GSG       MD      Draft letter to Jones Day re Judge Steinman         0.30   1,095.00      $328.50
                             selection of test cases and confirmation of no
                             stay violation.

12/29/2023 GSG       MD      Emails to/from PSZJ team re test case               0.10   1,095.00      $109.50
                             correspondence and status.

12/29/2023 GSG       MD      Telephone call with K. Dine re test cases.          0.30   1,095.00      $328.50
12/29/2023 GSG       MD      Finalize letter and email Jones Day re test case    0.10   1,095.00      $109.50
                             protocol not violating stay.

                                                                                66.80              $89,712.00

Mediation
12/11/2023 JIS       ME      Review issues related to Subchapter V filings       0.40   1,695.00      $678.00
                             threatened by parishes.

                                                                                 0.40                 $678.00

Monthly Fee Statements
12/05/2023 GNB       MFA     Email with PSZJ team regarding Rock Creek           0.10    975.00         $97.50
                             retention and fees.
12/11/2023 GNB       MFA     Call with B. Michael regarding billing codes        0.10    975.00         $97.50
                             as of January 1, 2024.
12/11/2023 GNB       MFA     Edit PSZJ November 2023 bill.                       0.90    975.00       $877.50
12/14/2023 GNB       MFA     Email with PSZJ team regarding monthly fee          0.10    975.00         $97.50
                             statements for November 2023.
12/18/2023 KLL       MFA     Prepare certificate of no objection to              0.60    545.00       $327.00
                             Committee professionals' October monthly fee
                             statements.

12/19/2023 GNB       MFA     Review and finalize my certification of no          0.10    975.00         $97.50
                             objection for Committee professionals'
                             October 2023 monthly fee statements.
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12/22/2023 GNB       MFA     Email with BRG re revisions to its November        0.10    975.00         $97.50
                             2023 monthly fee statement.

12/22/2023 GNB       MFA     Email with A. Butler regarding December 19         0.10    975.00         $97.50
                             order regarding holdbacks on professionals'
                             fees.
12/22/2023 GNB       MFA     Email PSZJ team regarding monthly fee              0.10    975.00         $97.50
                             statements for November 2023.
12/27/2023 GNB       MFA     Revise billing category memorandum for             0.20    975.00       $195.00
                             PSZJ professionals and paraprofessionals.
12/27/2023 GNB       MFA     Email R. Tollner and J. Daly regarding BRG's       0.10    975.00         $97.50
                             and BB's November 2023 monthly fee
                             statements.

12/28/2023 GNB       MFA     Continue revising billing category                 0.10    975.00         $97.50
                             memorandum for PSZJ professionals and
                             paraprofessionals; email with L. Gardiazabal
                             regarding same.

                                                                                2.60                $2,277.00

Open Court Hearing
12/19/2023 BMM       OPH     Participate in hearing on test cases, fees, and    2.00    875.00      $1,750.00
                             discovery issues.

12/19/2023 GSG       OPH     Attend hearing re fee apps and test case           2.10   1,095.00     $2,299.50
                             motion.
12/19/2023 HRW       OPH     Attend hearing (partial) on discovery dispute      1.50    825.00      $1,237.50
                             re: disclosure of searches conducted by state
                             court counsel and motion to proceed with test
                             cases.

12/19/2023 JIS       OPH     Attend hearing on test case motion and interim     4.90   1,695.00     $8,305.50
                             fees.
                                                                               10.50              $13,592.50

Plan and Disclosure Statement
12/01/2023 BMM       PD      Analyze issues with Diocese's disclosure           0.70    875.00       $612.50
                             statement.
12/01/2023 GSG       PD      Review research re law re third-party releases.    0.70   1,095.00      $766.50
12/01/2023 GSG       PD      Review K. Dine comments to disclosure              0.50   1,095.00      $547.50
                             statement.
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                                                                                Hours      Rate       Amount
12/01/2023 GSG       PD      Prepare notes and comments to disclosure            2.90   1,095.00     $3,175.50
                             statement re IAC litigation and transfers.

12/01/2023 GSG       PD      Research related objections to Diocese              0.40   1,095.00      $438.00
                             disclosure statement and Plan.

12/01/2023 JIS       PD      Call with state court counsel regarding             0.50   1,695.00      $847.50
                             disclosure statement issues related to parishes.

12/01/2023 KBD       PD      Follow-up call with J. Stang regarding next         0.20   1,395.00      $279.00
                             steps.

12/01/2023 KBD       PD      Follow-up call with B. Michael regarding next       0.80   1,395.00     $1,116.00
                             steps.
12/02/2023 KBD       PD      Analyze correspondence from Jones Day               0.20   1,395.00      $279.00
                             regarding stay of litigation.
12/03/2023 JIS       PD      Call from T. Burns regarding insurance issues       0.20   1,695.00      $339.00
                             related to bankruptcy estate and reinsurance.
12/03/2023 KBD       PD      Draft motion for protective order and to unseal     0.60   1,395.00      $837.00
                             documents.
12/04/2023 BMM       PD      Review Diocese's disclosure statement and           1.20    875.00      $1,050.00
                             plan.
12/04/2023 BMM       PD      Call with team regarding Diocese's disclosure       2.40    875.00      $2,100.00
                             statement.
12/04/2023 BMM       PD      Call with K. Dine regarding Diocese's               0.60    875.00       $525.00
                             disclosure statement.
12/04/2023 BMM       PD      Prepare list of disclosure statement flaws.         3.30    875.00     $2,887.50
12/04/2023 BMM       PD      Draft list of flaws with disclosure statement       1.80    875.00      $1,575.00
                             for meet and confer with the Diocese.
12/04/2023 GSG       PD      Review disclosure statement re current and          0.60   1,095.00      $657.00
                             additional comments by B. Michael.

12/04/2023 GSG       PD      Prepare additional comments to disclosure           0.60   1,095.00      $657.00
                             statement.

12/04/2023 GSG       PD      Conference call with J. Stang, B. Michael, K.       2.40   1,095.00     $2,628.00
                             Dine, I. Nasatir, and J. Bair re disclosure
                             statement issues.
12/04/2023 IAWN PD           Review DVRC disclosure statement for                2.00   1,395.00     $2,790.00
                             objections.
12/04/2023 IAWN PD           Send team email with notes from review of           0.30   1,395.00      $418.50
                             Disclosure Statement.
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                                                                             Hours      Rate       Amount
12/04/2023 IAWN PD           Telephone call with team (partial) re            2.30   1,395.00     $3,208.50
                             Disclosure Statement objections.

12/04/2023 JIS       PD      PSZJ/BB call to review disclosure statement      2.40   1,695.00     $4,068.00
                             issues.

12/04/2023 KBD       PD      Analyze Debtor disclosure statement.             0.70   1,395.00      $976.50
12/04/2023 KBD       PD      Call (partial) among professionals regarding     2.00   1,395.00     $2,790.00
                             disclosure statement comments.

12/04/2023 KBD       PD      Attention to correspondence to/from Jones        0.30   1,395.00      $418.50
                             Day regarding ongoing case issues.

12/05/2023 BMM       PD      Revise list of issues with Disclosure            2.60    875.00      $2,275.00
                             Statement.
12/05/2023 BMM       PD      Call with K. Dine regarding Diocese's            0.30    875.00       $262.50
                             disclosure statement.
12/05/2023 BMM       PD      Revise list of issues with Disclosure            0.20    875.00       $175.00
                             Statement.
12/05/2023 BMM       PD      Revise list of issues with Disclosure            1.30    875.00      $1,137.50
                             Statement.
12/05/2023 GNB       PD      Call with B. Michael regarding research for      0.10    975.00         $97.50
                             disclosure statement objection.
12/05/2023 GSG       PD      Review bullet point commentary re disclosure     1.30   1,095.00     $1,423.50
                             statement (.2); and prepare comments (1.1).
12/05/2023 GSG       PD      Review comments to disclosure statement          0.10   1,095.00      $109.50
                             insurance issues from J. Bair and I. Nasatir.
12/05/2023 GSG       PD      Preliminary review of revised proposed order     0.30   1,095.00      $328.50
                             re disclosure statement and Plan procedures.
12/05/2023 IAWN PD           Telephone call with B. Michael re Syracuse       0.20   1,395.00      $279.00
                             Diocese plan and stay issues.

12/05/2023 IAWN PD           Review and comment to team re Disclosure         0.50   1,395.00      $697.50
                             Statement summary of objections.

12/05/2023 IAWN PD           Exchange emails with B. Michael re Jones         0.10   1,395.00      $139.50
                             Day filing in Diocese of Buffalo.

12/05/2023 JIS       PD      Listen to live SCOTUS Purdue hearing re          0.50   1,695.00      $847.50
                             third-party releases.

12/05/2023 JIS       PD      PSZJ call to review SCOTUS arguments re          1.20   1,695.00     $2,034.00
                             Purdue.
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                                                                               Hours      Rate       Amount
12/05/2023 JIS       PD      Research issues related to imputation of           0.70   1,695.00     $1,186.50
                             knowledge between Diocese and parishes.

12/05/2023 KBD       PD      Analyze and prepare comments to draft list of      0.80   1,395.00     $1,116.00
                             issues with respect to the Disclosure
                             Statement.
12/05/2023 LAF       PD      Legal research re Imputation of knowledge of       4.60    595.00      $2,737.00
                             agent to principal.
12/06/2023 BMM       PD      Call with Debtor regarding ongoing case            0.60    875.00       $525.00
                             issues.
12/06/2023 BMM       PD      Call with K. Dine and J. Stang regarding           0.30    875.00       $262.50
                             ongoing case issues.
12/06/2023 BMM       PD      Call with K. Dine regarding confidentiality        0.30    875.00       $262.50
                             issues.
12/06/2023 JIS       PD      Review summary of disclosure statement             0.80   1,695.00     $1,356.00
                             objection.
12/06/2023 JIS       PD      Review Restatement of Agency regarding             0.40   1,695.00      $678.00
                             imputation.

12/06/2023 KBD       PD      Analyze hearing transcript regarding               0.60   1,395.00      $837.00
                             disclosure and next steps.

12/06/2023 KBD       PD      Call with Jones Day and PSZJ regarding             0.60   1,395.00      $837.00
                             ongoing case issues.

12/06/2023 KBD       PD      Follow-up call with J. Stang re call with Jones    0.30   1,395.00      $418.50
                             Day.

12/06/2023 KBD       PD      Follow-up call with B. Michael re call with        0.10   1,395.00      $139.50
                             Jones Day.
12/06/2023 KBD       PD      Telephone calls with B. Michael regarding          0.60   1,395.00      $837.00
                             confidentiality and disclosure issues.
12/06/2023 KBD       PD      Draft memorandum to Committee regarding            2.30   1,395.00     $3,208.50
                             ongoing case issues.
12/06/2023 KBD       PD      Analyze Debtor solicitation motion.                0.50   1,395.00      $697.50
12/06/2023 LAF       PD      Legal research re Imputation of knowledge          0.50    595.00       $297.50
                             from agent to principal.
12/07/2023 BMM       PD      Call with K. Dine and J. Stang regarding           0.90    875.00       $787.50
                             ongoing case issues.
12/07/2023 BMM       PD      Call with K. Dine regarding confidentiality        0.40    875.00       $350.00
                             issues.
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                                                                              Hours      Rate       Amount
12/07/2023 BMM       PD      Revise and finalize initial list of disclosure    1.20    875.00      $1,050.00
                             statement issues.

12/07/2023 BMM       PD      Call with K. Dine regarding confidentiality       0.20    875.00       $175.00
                             issues.

12/07/2023 BMM       PD      Call with Stout regarding claims valuation.       0.40    875.00       $350.00
12/07/2023 IAWN PD           Telephone call with B. Michael re Syracuse        0.40   1,395.00      $558.00
                             Diocese and related plan issues.

12/07/2023 IAWN PD           Review ISO email re agreement.                    0.10   1,395.00      $139.50
12/07/2023 JIS       PD      Review articles and research regarding            1.80   1,695.00     $3,051.00
                             imputation of knowledge relating to discovery
                             declassification.
12/07/2023 JIS       PD      Call with B. Michael and K. Dine regarding        0.90   1,695.00     $1,525.50
                             agenda for call with state court counsel.
12/07/2023 KBD       PD      Research and analyze legal issues relating to     1.70   1,395.00     $2,371.50
                             confidentiality.
12/07/2023 KBD       PD      Draft motion relating to confidentiality          0.80   1,395.00     $1,116.00
                             agreement.
12/07/2023 KBD       PD      Draft and review correspondence among PSZJ        0.30   1,395.00      $418.50
                             and Jones Day regarding ongoing case issues.

12/07/2023 KBD       PD      Prepare and review correspondence among           0.20   1,395.00      $279.00
                             PSZJ and SCC regarding ongoing case issues.

12/07/2023 KBD       PD      Telephone call with B. Michael and J. Stang       1.00   1,395.00     $1,395.00
                             regarding issues for discussion with SCC.

12/07/2023 KBD       PD      Telephone call among PSZJ and Stout               0.30   1,395.00      $418.50
                             regarding claims matters.

12/07/2023 KBD       PD      Telephone calls with B. Michael regarding         0.60   1,395.00      $837.00
                             next steps regarding case and plan.
12/07/2023 KBD       PD      Analyze solicitation motion.                      0.90   1,395.00    $1,255.50
12/07/2023 KLL       PD      Review and update draft of disclosure             0.40    545.00       $218.00
                             statement and plan recevied.
12/08/2023 BMM       PD      Revise memo to the Committee on the               1.00    875.00       $875.00
                             Diocese's plan.
12/08/2023 BMM       PD      Call with K. Dine regarding plan strategy.        0.40    875.00       $350.00
12/08/2023 HRW       PD      Email with B. Michael, K. Dine re: motion for     0.20    825.00       $165.00
                             relief from confidentiality agreement.
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                                                                              Hours      Rate       Amount
12/08/2023 KBD       PD      Telephone call with B. Michael regarding          0.40   1,395.00      $558.00
                             upcoming briefing matters.

12/08/2023 KBD       PD      Telephone calls with B. Michael regarding         0.20   1,395.00      $279.00
                             objection.

12/08/2023 KBD       PD      Analyze correspondence on ongoing case            0.20   1,395.00      $279.00
                             issues among Jones Day and PSZJ.

12/11/2023 BMM       PD      Review transcript from 11/28 hearing              1.40    875.00      $1,225.00
                             regarding disclosure statement.

12/11/2023 BMM       PD      Call with K. Dine regarding objection to          0.20    875.00       $175.00
                             disclosure statement.
12/11/2023 GSG       PD      Review legal authority re 9019 standards          0.90   1,095.00      $985.50
                             applicable to plan provisions.
12/11/2023 GSG       PD      Draft insert re disclosure statement objection    3.10   1,095.00     $3,394.50
                             re settlement of IAC transfers.
12/11/2023 HRW       PD      Email with B. Michael, K. Dine, J. Stang re:      0.20    825.00       $165.00
                             Dispute Notice under Protective Order in
                             connection with confidential designations and
                             related issues.
12/11/2023 HRW       PD      Email with K. Dine re: background materials       0.20    825.00       $165.00
                             in connection with confidential designations.
12/11/2023 HRW       PD      Review background materials in connection         1.00    825.00       $825.00
                             with confidential designations.
12/11/2023 HRW       PD      Research in connection with motion for relief     3.00    825.00      $2,475.00
                             from confidentiality agreement.
12/11/2023 HRW       PD      Call with K. Dine, B. Michael (for part)          1.30    825.00      $1,072.50
                             regarding confidentiality agreement.
12/11/2023 KBD       PD      Prepare comments to memorandum to clients         0.20   1,395.00      $279.00
                             regarding ongoing case issues.
12/11/2023 KBD       PD      Telephone call with B. Michael regarding          0.20   1,395.00      $279.00
                             disclosure statement objection.

12/11/2023 KBD       PD      Telephone call with G. Greenwood regarding        0.20   1,395.00      $279.00
                             disclosure statement objection.

12/11/2023 KBD       PD      Telephone call with H. Winograd and B.            1.30   1,395.00     $1,813.50
                             Michael (partial) regarding confidentiality
                             motion.
12/11/2023 KBD       PD      Prepare correspondence to team regarding          0.40   1,395.00      $558.00
                             confidentiality issues.
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                                                                               Hours      Rate       Amount
12/11/2023 KBD       PD      Draft correspondence to Committee and SCC          0.10   1,395.00      $139.50
                             regarding ongoing case issues.

12/11/2023 KBD       PD      Revise memorandum to Committee regarding           0.20   1,395.00      $279.00
                             ongoing case issues.

12/12/2023 GSG       PD      Draft/revise insert re disclosure statement        1.60   1,095.00     $1,752.00
                             objection re CemCo settlement.

12/12/2023 HRW       PD      Review emails from B. Michael, K. Dine, J.         0.20    825.00       $165.00
                             Stang re: disclosure of state court counsel
                             search terms of CVA files.
12/12/2023 HRW       PD      Review export data re state court counsel use      0.10    825.00         $82.50
                             of discovery produced to Committee.
12/12/2023 HRW       PD      Research in connection with motion for relief      2.50    825.00      $2,062.50
                             from confidentiality agreement.
12/13/2023 BMM       PD      Call with Debtor regarding ongoing case            0.40    875.00       $350.00
                             issues.
12/13/2023 BMM       PD      Follow-up with K. Dine and J. Stang                0.20    875.00       $175.00
                             regarding call with Debtor's counsel of open
                             issues.
12/13/2023 GSG       PD      Finalize disclosure statement objection insert.    0.40   1,095.00      $438.00
12/13/2023 HRW       PD      Review email from K. Dine re: investigation        0.10    825.00         $82.50
                             of the access by the state court counsel of
                             Committee documents.

12/13/2023 JIS       PD      Call with Debtor regarding status of case          0.40   1,695.00      $678.00
                             issues.

12/13/2023 JIS       PD      Call with K. Dine and B. Michael following         0.20   1,695.00      $339.00
                             status call with Debtor.

12/13/2023 JIS       PD      Call with K. Dine in advance of status call        0.10   1,695.00      $169.50
                             with Debtor to review agenda issues.

12/13/2023 JIS       PD      Review articles regarding qualifications to be     0.60   1,695.00     $1,017.00
                             Chapter V debtor.
12/13/2023 KBD       PD      Analyze issues relating to disclosure statement    1.60   1,395.00     $2,232.00
                             to prepare objection.
12/13/2023 KBD       PD      Telephone call with Jones Day team regarding       0.20   1,395.00      $279.00
                             ongoing case issues.
12/13/2023 KBD       PD      Follow-up telephone call with J. Stang and B.      0.20   1,395.00      $279.00
                             Michael regarding ongoing case issues
                             discussion with Jones Day.
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                                                                            Hours      Rate       Amount
12/13/2023 KBD       PD      Telephone calls with J. Stang to prepare for    0.10   1,395.00      $139.50
                             call with Jones Day.

12/14/2023 BMM       PD      Call with P. Stoneking regarding CVA            0.30    875.00       $262.50
                             productions and redactions.

12/14/2023 BMM       PD      Review material regarding CVA productions       1.00    875.00       $875.00
                             and redactions.

12/14/2023 HRW       PD      Research re: motion for relief from             1.50    825.00      $1,237.50
                             confidentiality stipulation.

12/15/2023 BMM       PD      Communications with E. Cate regarding Jones     0.20    875.00       $175.00
                             Day settlement meeting.
12/15/2023 BMM       PD      Call with K. Dine regarding confidentiality     0.70    875.00       $612.50
                             issues.
12/15/2023 HRW       PD      Review Diocese letter to Court re: alleged      0.20    825.00       $165.00
                             state court counsel violations of protective
                             order.
12/15/2023 KBD       PD      Telephone call with B. Michael regarding        0.70   1,395.00      $976.50
                             disclosure statement brief and upcoming
                             hearing.
12/15/2023 KBD       PD      Prepare disclosure statement objection.         0.60   1,395.00      $837.00
12/15/2023 KBD       PD      Analyze proposed solicitation procedures.       0.50   1,395.00      $697.50
12/15/2023 KBD       PD      Analyze correspondence among PSZJ and           0.20   1,395.00      $279.00
                             Jones Day regarding ongoing case issues.
12/16/2023 GSG       PD      Emails from J. Stang and B. Michael re          0.20   1,095.00      $219.00
                             supplemental productions of CVA files.
12/16/2023 KBD       PD      Prepare memorandum regarding document           2.80   1,395.00     $3,906.00
                             production issues.
12/17/2023 BMM       PD      Review documents regarding Debtor's             1.00    875.00       $875.00
                             statements regarding CVA documents.
12/17/2023 GSG       PD      Review and revise proposed J. Amala             0.70   1,095.00      $766.50
                             declaration re confidentiality order.
12/17/2023 GSG       PD      Review Confidentiality Order and related        0.70   1,095.00      $766.50
                             pleadings re timing and application.

12/17/2023 GSG       PD      Review E. Stephens 12/15 letter re alleged      0.40   1,095.00      $438.00
                             confidentiality violations.
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                                                                               Hours      Rate       Amount
12/17/2023 GSG       PD      Review K. Dine comments on J. Amala                1.10   1,095.00     $1,204.50
                             declaration re confidentiality order (.1); and
                             revise Amala declaration re additional
                             comments (1.0).
12/17/2023 GSG       PD      Review and revise final J. Amala declaration       0.40   1,095.00      $438.00
                             re Everlaw searches.
12/17/2023 GSG       PD      Email J. Stang and K. Dine re confidentiality      0.20   1,095.00      $219.00
                             order.

12/17/2023 GSG       PD      Review 5/16/23 transcript re production of         0.20   1,095.00      $219.00
                             CVA files.

12/17/2023 HRW       PD      Review emails from K. Dine, G. Greenwood,          0.20    825.00       $165.00
                             J. Stang re: Diocese disclosures on notice for
                             previously disallowed claims.
12/17/2023 HRW       PD      Review J. Amala declaration re: alleged            0.50    825.00       $412.50
                             violation of protective order in connection
                             with disclosure of state court counsel search
                             terms.
12/17/2023 HRW       PD      Review emails from G. Greenwood, J. Stang,         0.40    825.00       $330.00
                             K. Dine, B. Michael re: J. Amala declaration
                             on alleged violation of protective order in
                             connection with disclosure of state court
                             counsel search terms.

12/18/2023 GSG       PD      Email K. Dine re letter to Chief Judge Glenn       0.10   1,095.00      $109.50
                             re protective order.

12/18/2023 HRW       PD      Review emails from K. Dine, J. Amala re:           0.10    825.00         $82.50
                             declaration in connection with alleged
                             violation of protective order.
12/18/2023 HRW       PD      Review J. Amala re: declaration in connection      0.10    825.00         $82.50
                             with alleged violation of protective order.
12/18/2023 HRW       PD      Email with G. Greenwood, K. LaBrada re:            0.10    825.00         $82.50
                             hearing on discovery dispute re: disclosure of
                             searches conducted by state court counsel.

12/19/2023 HRW       PD      Review December 15 letter and related filings      0.80    825.00       $660.00
                             in preparation for hearing on discovery dispute
                             re: disclosure of searches conducted by state
                             court counsel.

12/19/2023 HRW       PD      Email with K. LaBrada re: hearing on               0.20    825.00       $165.00
                             discovery dispute re: disclosure of searches
                             conducted by state court counsel and motion
                             to proceed with test cases.
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                                                                              Hours      Rate       Amount
12/20/2023 HRW       PD      Email with K. Dine, B. Michael, G.                0.20    825.00       $165.00
                             Greenwood re: next steps for motion for relief
                             from confidentiality agreement and related
                             issues.
12/21/2023 HRW       PD      Email with G. Greenwood, K. Dine, B.              0.20    825.00       $165.00
                             Michael re: next steps for motion for relief
                             from confidentiality agreement and related
                             issues.
12/21/2023 HRW       PD      Email with K. Dine re: transcript of December     0.10    825.00         $82.50
                             19 discovery hearing.
12/21/2023 HRW       PD      Review and analyze transcript and related         1.00    825.00       $825.00
                             background materials in preparation for
                             motion for relief from confidentiality
                             agreement and related issues.
12/21/2023 HRW       PD      Research re: motion for relief from               0.80    825.00       $660.00
                             confidentiality agreement.
12/21/2023 HRW       PD      Draft motion for relief from confidentiality      0.80    825.00       $660.00
                             agreement.

12/21/2023 JIS       PD      Call with state court counsel re case and plan    1.20   1,695.00     $2,034.00
                             issues and case hearing.

12/21/2023 JIS       PD      Call with state court counsel re plan funding.    0.10   1,695.00      $169.50
12/21/2023 JMD       PD      Review draft administrative claim objection       0.80   1,395.00     $1,116.00
                             brief comments and, coordinate for
                             completion and filing (0.8).
12/21/2023 KBD       PD      Analyze disclosure statement exhibits.            1.30   1,395.00    $1,813.50
12/21/2023 KBD       PD      Revise disclosure statement objection.            0.80   1,395.00    $1,116.00
12/22/2023 HRW       PD      Email with K. Dine re: motion for relief from     0.30    825.00       $247.50
                             confidentiality agreement.
12/22/2023 HRW       PD      Continue to draft motion for relief from          2.50    825.00      $2,062.50
                             confidentiality agreement.
12/22/2023 HRW       PD      Review background materials in connection         0.80    825.00       $660.00
                             with motion for relief from confidentiality
                             agreement.
12/26/2023 BMM       PD      Review draft email to Jones Day regarding         0.10    875.00         $87.50
                             disclosure statement.
12/26/2023 GSG       PD      Emails to/from K. Dine and team re disclosure     0.30   1,095.00      $328.50
                             statement hearing and adjournment.
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                                                                            Hours      Rate       Amount
12/26/2023 GSG       PD      Review Debtor's schedules to Plan and           1.80   1,095.00     $1,971.00
                             disclosure statement.

12/26/2023 GSG       PD      Emails to/from K. Dine re disclosure            0.10   1,095.00      $109.50
                             statement objection and conference call
                             scheduling.
12/26/2023 GSG       PD      Review modified Plan and disclosure             0.60   1,095.00      $657.00
                             statement.
12/26/2023 GSG       PD      Review Cemco demand history in connection       0.40   1,095.00      $438.00
                             with disclosure statement objection.
12/26/2023 HRW       PD      Continue to draft motion for relief from        3.50    825.00      $2,887.50
                             confidentiality agreement.
12/26/2023 HRW       PD      Email with K. Dine, G. Greenwood re:            0.20    825.00       $165.00
                             strategy and next steps for objection to
                             disclosure statement and related issues.

12/26/2023 JIS       PD      Telephone conference with K. Dine re review     0.20   1,695.00      $339.00
                             of plan documents.
12/26/2023 JMD       PD      Revise disclosure statement opposition.         0.10   1,395.00      $139.50
12/26/2023 KBD       PD      Analyze revised disclosure statement.           1.70   1,395.00    $2,371.50
12/26/2023 KBD       PD      Analyze revised plan.                           0.80   1,395.00    $1,116.00
12/26/2023 KBD       PD      Analyze Disclosure Statement/Plan exhibits.     1.30   1,395.00    $1,813.50
12/26/2023 KBD       PD      Draft correspondence to Jones Day regarding     0.10   1,395.00      $139.50
                             outstanding matters.
12/26/2023 KBD       PD      Work on outline of disclosure statement         0.70   1,395.00      $976.50
                             objections.
12/27/2023 GNB       PD      Email with K. Dine regarding Debtor's           0.10    975.00         $97.50
                             amended plan and disclosure statement.
12/27/2023 GSG       PD      Review proposed TDP supplementing plan.         0.60   1,095.00      $657.00
12/27/2023 GSG       PD      Review projections by Diocese re trusts and     0.50   1,095.00      $547.50
                             breakdown of available funds.
12/27/2023 GSG       PD      Call with K. Dine and H. Winograd re            0.80   1,095.00      $876.00
                             disclosure statement contents and objection.
12/27/2023 GSG       PD      Telephone call with H. Winograd re de-          0.30   1,095.00      $328.50
                             designation of confidential files.
12/27/2023 GSG       PD      Emails to/from K. Dine and G. Brown re TDP      0.10   1,095.00      $109.50
                             procedures.
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                                                                               Hours      Rate       Amount
12/27/2023 GSG       PD      Review emails re stipulated extension of           0.10   1,095.00      $109.50
                             disclosure statement objection deadline.

12/27/2023 HRW       PD      Draft motion for relief from confidentiality       8.50    825.00      $7,012.50
                             agreement.

12/27/2023 HRW       PD      Call with G. Greenwood re: motion for relief       0.30    825.00       $247.50
                             from confidentiality agreement.

12/27/2023 HRW       PD      Review emails from K. Dine, J. Lucas re:           0.20    825.00       $165.00
                             analysis of plan and disclosure statement.

12/27/2023 HRW       PD      Call with K. Dine, G. Greenwood re: strategy       0.70    825.00       $577.50
                             and next steps for objection to disclosure
                             statement and related issues.
12/27/2023 JIS       PD      Telephone conference with J. Lucas re TDP.         0.20   1,695.00      $339.00
12/27/2023 JIS       PD      Telephone conference with K. Dine re review        0.40   1,695.00      $678.00
                             of plan documents.
12/27/2023 JIS       PD      Telephone state court counsel re plan funding.     0.10   1,695.00      $169.50
12/27/2023 JIS       PD      Telephone conference with K. Dine and I.           0.20   1,695.00      $339.00
                             Scharf re plan funding.
12/27/2023 JWL       PD      Review Debtor's proposed Trust Distribution        1.50   1,150.00     $1,725.00
                             Procedures and comment on the same (1.5).

12/28/2023 GSG       PD      Review emails re Court approval of extension       0.10   1,095.00      $109.50
                             of disclosure statement objection deadline.

12/28/2023 HRW       PD      Draft motion for relief from confidentiality      10.00    825.00      $8,250.00
                             agreement in connection with CVA Claims
                             Documents.
12/28/2023 HRW       PD      Research confidentiality of personnel files and    2.00    825.00      $1,650.00
                             related issues in connection with motion for
                             relief from confidentiality agreement.

12/28/2023 HRW       PD      Call with K. Dine re: motion for relief from       0.30    825.00       $247.50
                             confidentiality agreement in connection with
                             CVA Claims Documents.
12/28/2023 HRW       PD      Review emails from K. Dine, K. LaBrada re:         0.10    825.00         $82.50
                             deadline for filing motion for relief from
                             confidentiality agreement.

12/28/2023 HRW       PD      Review emails from K. Dine re: documents in        0.20    825.00       $165.00
                             support of motion for relief from
                             confidentiality agreement in connection with
                             CVA Claims Documents.
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                                                                             Hours       Rate       Amount
12/28/2023 HRW       PD      Review emails from K. Dine re: objection          0.10    825.00         $82.50
                             deadline for disclosure statement.

12/28/2023 HRW       PD      Email with K. Dine re: background facts for       0.20    825.00       $165.00
                             motion for relief from confidentiality
                             agreement.
12/28/2023 IAWN PD           Review Disclosure Statement and plan              3.00   1,395.00     $4,185.00
                             exhibits.
12/28/2023 IAWN PD           Exchange emails with K. Dine and team re          0.20   1,395.00      $279.00
                             disclosure issues.
12/28/2023 KLL       PD      Review and respond to K. Dine on applicable       0.30    545.00       $163.50
                             dates for hearing setting on confidentiality
                             order according to case management order.

12/29/2023 HRW       PD      Draft motion for relief from confidentiality     10.00    825.00      $8,250.00
                             agreement in connection with CVA Claims
                             Documents.
12/29/2023 HRW       PD      Call with G. Greenwood re: motion for relief      0.20    825.00       $165.00
                             from confidentiality agreement in connection
                             with CVA Claims Documents.

12/29/2023 HRW       PD      Email with K. Dine, G. Greenwood re: motion       0.10    825.00         $82.50
                             for relief from confidentiality agreement in
                             connection with CVA Claims Documents.
12/29/2023 IAWN PD           Telephone call with BRG and team re               1.40   1,395.00     $1,953.00
                             liquidation analysis.
12/29/2023 IAWN PD           Email Claro re liquidation analysis.              0.10   1,395.00      $139.50
12/29/2023 JMD       PD      Telephone call K. Dine re plan disclosure         1.30   1,395.00     $1,813.50
                             objection (0.3). Research re plan disclosure
                             objection (1.0).
12/30/2023 HRW       PD      Continue to review and edit motion for relief     1.00    825.00       $825.00
                             from confidentiality agreement in connection
                             with CVA Claims Documents.
12/30/2023 HRW       PD      Email with K. Dine, G. Greenwood re: motion       0.20    825.00       $165.00
                             for relief from confidentiality agreement in
                             connection with CVA Claims Documents.
12/31/2023 HRW       PD      Continue to review and edit motion for relief     4.50    825.00      $3,712.50
                             from confidentiality agreement.
                                                                             179.80              $193,379.50
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                                                                               Hours      Rate       Amount

Preliminary Injunction
12/01/2023 GSG       PINJ    Review email from C. DiPompeo re alleged           0.20   1,095.00      $219.00
                             need to expand stipulated PI cases and email
                             PSZJ team re same.
12/01/2023 IAWN PINJ         Review team emails re extend of denial of          0.10   1,395.00      $139.50
                             preliminary injunction order.
12/04/2023 GSG       PINJ    Review PI opinion re Ecclesia issues.              0.30   1,095.00      $328.50
12/04/2023 GSG       PINJ    Review PI order re cases identified by C.          0.30   1,095.00      $328.50
                             DiPompeo for stipulated stay.
12/04/2023 GSG       PINJ    Draft response to C. DiPompeo letter and           0.50   1,095.00      $547.50
                             incorporate comments.
12/08/2023 IAWN PINJ         Telephone call with SCC re preliminary             1.20   1,395.00     $1,674.00
                             injunction and stay.
12/11/2023 BMM       PINJ    Draft response to Diocese regarding proposed       0.40    875.00       $350.00
                             additional stayed cases.
12/11/2023 GSG       PINJ    Email B. Michael, K. Dine, and J. Stang re PI      0.40   1,095.00      $438.00
                             opinion and Ecclesia cases.
12/11/2023 GSG       PINJ    Email K. Dine, B. Michael, and J. Stang re         0.30   1,095.00      $328.50
                             Ecclesia cases and correspondence status.

12/12/2023 BMM       PINJ    Research issues related to the automatic stay.     1.00    875.00       $875.00
12/12/2023 GSG       PINJ    Revise letter response re expansion of stay and    1.20   1,095.00     $1,314.00
                             revised schedule of cases not subject to stay,
                             and email re same.
12/12/2023 GSG       PINJ    Brief research re 362 waiver by prosecution of     0.50   1,095.00      $547.50
                             cases.
12/12/2023 GSG       PINJ    Follow up emails to B. Michael, K. Dine, and       0.80   1,095.00      $876.00
                             J. Stang re high school cases vs Ecclesia cases
                             and request for stay.

12/12/2023 GSG       PINJ    Review and comment re B. Michael redline re        0.40   1,095.00      $438.00
                             breakdown of high school cases.

12/12/2023 IAWN PINJ         Review G. Greenwood draft email and                0.20   1,395.00      $279.00
                             subsequent emails re stay on high schools.
12/12/2023 KBD       PINJ    Analyze draft letter to Jones Day regarding        0.20   1,395.00      $279.00
                             stay.
12/13/2023 GSG       PINJ    Finalize and send letter to C. DiPompeo.           0.20   1,095.00      $219.00
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                                                                              Hours      Rate       Amount
12/13/2023 IAWN PINJ         Review letter re preliminary injunction.          0.10   1,395.00      $139.50
12/13/2023 IAWN PINJ         Exchange emails with team re comments re          0.10   1,395.00      $139.50
                             insurers' settlement draft.

12/15/2023 GSG       PINJ    Review C. DiPompeo letter and proposed            0.80   1,095.00      $876.00
                             stipulation (.1); revise and blackline
                             stipulation (.6); and email J. Stang re same
                             (.1).
12/15/2023 GSG       PINJ    Email C. DiPompeo re comments to                  0.20   1,095.00      $219.00
                             stipulation re Ecclesia cases.

12/15/2023 JIS       PINJ    Review mark up of stipulation regarding           0.10   1,695.00      $169.50
                             Ecclesia cases.

12/27/2023 JIS       PINJ    Telephone conference with A. Zalkin re            0.20   1,695.00      $339.00
                             Ecclesia stipulation.

                                                                               9.70              $11,063.50

Public Notice
12/07/2023 HRW       PNTC    Emails with K. Dine, B. Michael re: Interstate    0.30    825.00       $247.50
                             disclosure issues.

12/07/2023 HRW       PNTC    Review background documents in connection         1.80    825.00      $1,485.00
                             with Interstate disclosure issues.
12/07/2023 IAWN PNTC         Review K. Dine email to H. Winograd re Azra       0.10   1,395.00      $139.50
                             issues.
12/07/2023 JIS       PNTC    Review email regarding ARZA and                   0.10   1,695.00      $169.50
                             reinsurance.
12/07/2023 KBD       PNTC    Prepare and review correspondence among           0.30   1,395.00      $418.50
                             counsel for Interstate, ISO and Debtor
                             regarding disclosure matters.

12/07/2023 KBD       PNTC    Analyze issues relating to Interstate             0.30   1,395.00      $418.50
                             disclosures and next steps.

12/08/2023 HRW       PNTC    Review background documents in connection         2.80    825.00      $2,310.00
                             with Interstate disclosure issues.

12/09/2023 HRW       PNTC    Review Diocese of Camden deposition               1.00    825.00       $825.00
                             transcript in connection with Interstate
                             disclosure issues and related work.
12/11/2023 HRW       PNTC    Call with K. Dine re: Interstate disclosure       0.40    825.00       $330.00
                             issues.
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                                                                                Hours      Rate       Amount
12/11/2023 KBD       PNTC    Telephone call with H. Winograd regarding           0.40   1,395.00      $558.00
                             Interstate issues and next steps.

12/13/2023 HRW       PNTC    Review emails from K. Dine, B. Michael, M.          0.30    825.00       $247.50
                             Cassata re: document production in
                             connection with Interstate disclosures.
12/15/2023 HRW       PNTC    Review emails from K. Dine, M. Cassata re:          0.10    825.00         $82.50
                             Interstate notification letters to claimants in
                             connection with disclosure of confidential
                             information.
12/15/2023 HRW       PNTC    Review Interstate notification letters to           0.20    825.00       $165.00
                             claimants in connection with disclosure of
                             confidential information.

12/15/2023 KBD       PNTC    Analyze proposed Interstate disclosures with        0.30   1,395.00      $418.50
                             J. Stang (partial).

12/20/2023 HRW       PNTC    Review email from K. Dine re: AZRA notice           0.10    825.00         $82.50
                             letters to unrepresented claimants in
                             connection with Interstate disclosure of
                             confidential information.

12/20/2023 HRW       PNTC    Review AZRA notice letters to unrepresented         0.30    825.00       $247.50
                             claimants in connection with Interstate
                             disclosure of confidential information.
12/20/2023 HRW       PNTC    Meet with I. Scharf re: strategy and next steps     0.20    825.00       $165.00
                             for Interstate disclosure issues.
12/20/2023 KBD       PNTC    Prepare comments to draft notice to claimants       0.60   1,395.00      $837.00
                             regarding disclosure.
12/26/2023 KBD       PNTC    Correspondence with Lowenstein firm                 0.10   1,395.00      $139.50
                             regarding Interstate matters.
12/27/2023 JIS       PNTC    Review ARZA notice.                                 0.20   1,695.00      $339.00
12/29/2023 HRW       PNTC    Review email from K. Dine re: AZRA notice           0.10    825.00         $82.50
                             letters in connection with Interstate disclosure
                             issues.
                                                                                10.00                $9,708.00

State Court Litigation
12/04/2023 YPD       SCL     Research and review of district court case          1.20    545.00       $654.00
                             dockets re Judge M. K. Brodie (.6);
                             preparation of chart re remanded Judge M.
                             Brodie cases (.6).
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                                                                              Hours      Rate       Amount
12/04/2023 YPD       SCL     Revision to chart re Judge M. Brodie              0.60    545.00       $327.00
                             remanded cases (.5); email to B. Michael on
                             same (.1).
12/04/2023 YPD       SCL     Review of documents (.4); preparation of chart    1.20    545.00       $654.00
                             of remaining removal cases (.6); revision to
                             same (.2).
12/04/2023 YPD       SCL     Review of B. Michael email (.1); review of        0.20    545.00       $109.00
                             state court counsel email re Judge E.
                             Committee remanded case (.1).
12/04/2023 YPD       SCL     Research and review of district court case        1.20    545.00       $654.00
                             dockets re Judge E. Committee (.6);
                             preparation of chart re remanded Judge E.
                             Committee cases (.6).
12/04/2023 YPD       SCL     Revision to chart re Judge E. Committee           0.60    545.00       $327.00
                             remanded cases (.5); email to B. Michael on
                             same (.1).
12/05/2023 YPD       SCL     Review of Arrowood chart and removal cases        0.40    545.00       $218.00
                             and Judge Committee and Judges Brodie cases
                             relating to Arrowood coverage.
12/05/2023 YPD       SCL     Review of email from B. Michael re                0.20    545.00       $109.00
                             Committee meeting (.1); email re charts on
                             remanded cases (Judges Committee and
                             Brodie) (.1).
12/05/2023 YPD       SCL     Review district court dockets re removal          1.20    545.00       $654.00
                             actions (.6); update removal charts (.6).
12/06/2023 JIS       SCL     Review demand letter from M. Dowd offices.        0.10   1,695.00      $169.50
12/07/2023 BMM       SCL     Analyze issues related to Diocese's role in       1.50    875.00      $1,312.50
                             state court litigation.
12/07/2023 BMM       SCL     Analyze issues related to Diocese's role in       0.50    875.00       $437.50
                             state court litigation.
12/07/2023 JIS       SCL     Final review of email response to E. Stephens     0.20   1,695.00      $339.00
                             regarding declassification of files.
12/07/2023 YPD       SCL     Review of district court pending removal          1.00    545.00       $545.00
                             actions (.5); update removal chart for
                             remaining cases (.5).

12/07/2023 YPD       SCL     Preparation of update to Arrowood chart re        0.60    545.00       $327.00
                             removed cases remanded back to state court
                             (Judge Committee and Judge Brodie actions).
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                                                                               Hours      Rate       Amount
12/11/2023 GSG       SCL     Telephone call with K. Dine re state court         0.10   1,095.00      $109.50
                             status and stay discussions.

12/12/2023 KBD       SCL     Analyze issues relating to continued stay of       0.30   1,395.00      $418.50
                             cases with B. Michael (partial).

12/13/2023 HRW       SCL     Meet with Jones Day regarding case status and      0.30    825.00       $247.50
                             state court discovery issues.

12/13/2023 HRW       SCL     Review email from E. Stephens re: meet and         0.10    825.00         $82.50
                             confer on case status and state court discovery
                             issues.
12/13/2023 KBD       SCL     Analyze correspondence among Jones Day             0.20   1,395.00      $279.00
                             and PSZJ regarding ongoing case issues.
12/14/2023 HRW       SCL     Review email from P. Stoneking re: discovery       0.20    825.00       $165.00
                             issues for state court litigation.
12/14/2023 JIS       SCL     Review email from J. Scotto regarding stay of      0.20   1,695.00      $339.00
                             cases and N. Steinman conference re same.
12/14/2023 KBD       SCL     Telephone call with J. Stang regarding status      0.20   1,395.00      $279.00
                             of state court actions.

12/15/2023 HRW       SCL     Email with K. Dine re: status of motion for        0.20    825.00       $165.00
                             relief from confidentiality order and related
                             issues.
12/15/2023 JIS       SCL     Review pleadings related to remand motion          0.10   1,695.00      $169.50
                             (Holy Name of Mary).
12/15/2023 KBD       SCL     Analyze proposed stipulation regarding stay.       0.40   1,395.00      $558.00
12/15/2023 KBD       SCL     Analyze pleadings relating to remand issues.       0.40   1,395.00      $558.00
12/17/2023 GSG       SCL     Call with K. Dine re state court discovery         0.70   1,095.00      $766.50
                             issues.
12/18/2023 GSG       SCL     Emails to/from J. Amala re state court             0.20   1,095.00      $219.00
                             discovery.
12/20/2023 YPD       SCL     Review of district court dockets and status of     1.00    545.00       $545.00
                             removal cases (.4); update of pending cases
                             for removal chart (.6).
12/20/2023 YPD       SCL     Review of documents/order of removed cases         1.00    545.00       $545.00
                             (.2); preparation of chart of Judge R. P.
                             Kovner remanded cases (.5); revision to same
                             (.2); email to B. Michael (.1).

12/21/2023 HRW       SCL     Review email from B. Michael re: Judge             0.10    825.00         $82.50
                             Rachel P. Kovner remanded cases.
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                                                                               Hours      Rate       Amount
12/21/2023 HRW       SCL     Review spreadsheet on Judge Rachel P.              0.10    825.00         $82.50
                             Kovner remanded cases.

12/21/2023 YPD       SCL     Review of B. Michael email re Judge R. P.          0.10    545.00         $54.50
                             Kovner remanded state court cases and chart
                             of same.
12/21/2023 YPD       SCL     Review of documents and revision to chart of       0.40    545.00       $218.00
                             remaining district court removal cases.
12/28/2023 YPD       SCL     Review of district court removal cases and         1.40    545.00       $763.00
                             status (.6); update removal chart on status of
                             same (.8).

12/28/2023 YPD       SCL     Preparation of charts of Judge N.J. Choudhury      1.20    545.00       $654.00
                             remanded state court cases (.8); revision same
                             (.4).
12/29/2023 GSG       SCL     Confer with H. Winograd re confidential files.     0.20   1,095.00      $219.00
12/29/2023 GSG       SCL     Draft letter re request for Court conference re    0.70   1,095.00      $766.50
                             protocol not violating stay.
12/31/2023 GSG       SCL     Emails from/to T. Geremia re correspondence.       0.20   1,095.00      $219.00
                                                                               20.70               $15,341.50

Travel
12/18/2023 JIS       TR      Travel from LA to NY for hearing. (Billed at       8.00    847.50      $6,780.00
                             1/2 rate)
12/19/2023 JIS       TR      Travel to airport in NY. (Billed at 1/2 rate)      1.20    847.50      $1,017.00
12/20/2023 JIS       TR      Travel from NY to Los Angeles (12/19               8.00    847.50      $6,780.00
                             hearing). (Billed at 1/2 rate)
                                                                               17.20               $14,577.00

   TOTAL SERVICES FOR THIS MATTER:                                                            $400,847.50
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Expenses
12/01/2023 LN        18491.00002 Lexis Charges for 12-01-23                      18.16
12/01/2023 LN        18491.00002 Lexis Charges for 12-01-23                      15.84
12/01/2023 LN        18491.00002 Lexis Charges for 12-01-23                        3.96
12/01/2023 LN        18491.00002 Lexis Charges for 12-01-23                      28.03
12/04/2023 LN        18491.00002 Lexis Charges for 12-04-23                        4.95
12/04/2023 LN        18491.00002 Lexis Charges for 12-04-23                      14.02
12/04/2023 LN        18491.00002 Lexis Charges for 12-04-23                        1.98
12/04/2023 LN        18491.00002 Lexis Charges for 12-04-23                        0.99
12/05/2023 LN        18491.00002 Lexis Charges for 12-05-23                     127.16
12/05/2023 LN        18491.00002 Lexis Charges for 12-05-23                      58.32
12/05/2023 LN        18491.00002 Lexis Charges for 12-05-23                      29.16
12/05/2023 RE        COPY ( 1 @0.10 PER PG)                                        0.10
12/05/2023 TR        Veritext Legal Solutions, INV. 7024900                     110.70
12/06/2023 LN        18491.00002 Lexis Charges for 12-06-23                      36.32
12/06/2023 LN        18491.00002 Lexis Charges for 12-06-23                     116.70
12/07/2023 LN        18491.00002 Lexis Charges for 12-07-23                      40.46
12/07/2023 LN        18491.00002 Lexis Charges for 12-07-23                        1.98
12/07/2023 LN        18491.00002 Lexis Charges for 12-07-23                      14.02
12/07/2023 LN        18491.00002 Lexis Charges for 12-07-23                        2.97
12/07/2023 LN        18491.00002 Lexis Charges for 12-07-23                      13.88
12/08/2023 AF        Delta Airlines, Ticket 00680717113510, LAX to JFK         2,650.00
                     roundtrip, J. Stang - Coach, refundable fare.

12/08/2023 TE        Travel Agency Service Fee, JIS                              50.00
12/11/2023 BB        18491.00002 Bloomberg Charges through 12-11-23             114.20
12/12/2023 LN        18491.00002 Lexis Charges for 12-12-23                      18.16
12/12/2023 LN        18491.00002 Lexis Charges for 12-12-23                      40.46
12/12/2023 LN        18491.00002 Lexis Charges for 12-12-23                        5.94
12/12/2023 LN        18491.00002 Lexis Charges for 12-12-23                        0.99
12/12/2023 LN        18491.00002 Lexis Charges for 12-12-23                      14.02
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Client 18491.00002                                                                  December 31, 2023


12/15/2023 LN        18491.00002 Lexis Charges for 12-15-23                            2.97
12/15/2023 LN        18491.00002 Lexis Charges for 12-15-23                           14.02
12/15/2023 RE        COPY ( 90 @0.10 PER PG)                                           9.00
12/15/2023 RE        COPY ( 450 @0.10 PER PG)                                         45.00
12/15/2023 RE        COPY ( 540 @0.10 PER PG)                                         54.00
12/15/2023 RE        COPY ( 27 @0.10 PER PG)                                           2.70
12/15/2023 RE        COPY ( 32 @0.10 PER PG)                                           3.20
12/15/2023 RE        COPY ( 112 @0.10 PER PG)                                         11.20
12/15/2023 RE        COPY ( 27 @0.10 PER PG)                                           2.70
12/15/2023 RE        COPY ( 12 @0.10 PER PG)                                           1.20
12/15/2023 RE        COPY ( 90 @0.10 PER PG)                                           9.00
12/17/2023 AT        Uber, NYC Travel, JIS                                             8.68
12/18/2023 AT        Uber, NYC Travel, JIS                                            22.94
12/18/2023 AT        Taxi, NYC Travel, JIS                                           107.69
12/19/2023 AT        Uber, Transportation from Court for hearing re Committee's       47.92
                     Motion to Permit Proceeding with Certain State Court Actions
                     and Temporary Suspension of Chapter 11 Case, KBD
12/19/2023 AT        Uber, Transportation to court for hearing re Committee's         59.88
                     Motion to Permit Proceeding with Certain State Court Actions
                     and Temporary Suspension of Chapter 11 Case, KBD
12/19/2023 AT        Uber, NYC Travel, JIS                                           106.95
12/19/2023 BM        China Express Inn, JIS                                           45.73
12/19/2023 RE        COPY ( 17 @0.10 PER PG)                                           1.70
12/19/2023 RE        COPY ( 82 @0.10 PER PG)                                           8.20
12/19/2023 RE        COPY ( 12 @0.10 PER PG)                                           1.20
12/20/2023 BM        Isaac Estrada, Meal, JIS                                         32.39
12/20/2023 HT        Residence Inn NY, 1 night, JIS                                  325.65
12/20/2023 LN        18491.00002 Lexis Charges for 12-20-23                            4.95
12/20/2023 LN        18491.00002 Lexis Charges for 12-20-23                           14.02
12/21/2023 HT        Courtyard by Marriott, 1 night, JIS                             260.54
12/21/2023 RE        ( 137 @0.10 PER PG)                                              13.70
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12/22/2023 LN        18491.00002 Lexis Charges for 12-22-23                               19.42
12/22/2023 TR        Veritext, Inv. 7068930                                              142.80
12/26/2023 LN        18491.00002 Lexis Charges for 12-26-23                                 6.93
12/26/2023 LN        18491.00002 Lexis Charges for 12-26-23                               14.02
12/27/2023 LN        18491.00001 Lexis Charges for 12-27-23                               80.93
12/28/2023 LN        18491.00002 Lexis Charges for 12-28-23                               20.23
12/28/2023 LN        18491.00002 Lexis Charges for 12-28-23                               19.42
12/28/2023 LN        18491.00002 Lexis Charges for 12-28-23                                 1.98
12/28/2023 LN        18491.00002 Lexis Charges for 12-28-23                              185.96
12/29/2023 LN        18491.00002 Lexis Charges for 12-29-23                               10.89
12/29/2023 LN        18491.00002 Lexis Charges for 12-29-23                               14.02
12/30/2023 LN        18491.00001 Lexis Charges for 12-30-23                               40.46
12/31/2023 OS        Everlaw, Inv. 101133, Diocese of Rockville Centre database         6,336.00
                     for December 2023

12/31/2023 PAC       Pacer - Court Research                                               41.00

   Total Expenses for this Matter                                                 $11,684.66
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                                            A/R STATEMENT

   Outstanding Balance from prior invoices as of 12/31/2023         (May not include recent payments)
A/R Bill Number           Invoice Date                 Fee Billed   Expenses Billed         Balance Due

131278                     10/31/2022                $10,706.13              $0.00           $10,706.13
131417                     11/30/2022                $12,238.70              $0.00           $12,238.70
131565                     12/31/2022                $11,701.50              $0.00           $11,701.50
131783                     01/31/2023                $49,725.66              $0.00           $49,725.66
132042                     02/28/2023               $340,739.26              $0.00          $340,739.26
132252                     03/31/2023               $614,123.27              $0.00          $614,123.27
132421                     04/30/2023               $416,427.95              $0.00          $416,427.95
132645                     05/31/2023               $251,911.12              $0.00          $251,911.12
132882                     06/30/2023               $361,523.82              $0.00          $361,523.82
133014                     07/31/2023               $375,921.35              $0.00          $375,921.35
133679                     08/31/2023               $233,639.28              $0.00          $233,639.28
134367                     09/30/2023               $130,322.22              $0.00          $130,322.22
134966                     10/31/2023               $422,098.50        $38,702.93           $460,801.43
136190                     11/30/2023               $297,684.50        $10,764.49           $308,448.99

           Total Amount Due on Current and Prior Invoices:                                 $3,990,762.84
